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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )           CASE NO. 8:14CR206
                                            )
                  Plaintiff,                )
                                            )
     vs.                                    )                 JUDGMENT
                                            )
AARON R. RUSSELL,                           )
                                            )
                  Defendant.                )

     In accordance with the Memorandum and Order issued this date,

     IT IS ORDERED:

     1.    The Defendant’s Motion to Proceed In Forma Pauperis, ECF No. 189, is
           granted;

     2.    The Court has completed the initial review of the Defendant’s Motion
           Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a
           Person in Federal Custody (“§ 2255 motion”), ECF No. 188;

     3.    Upon initial review, the Court finds that the Defendant's § 2255 motion
           should be summarily dismissed;

     4.    The Defendant’s Motion Under 28 U.S.C. §2255 to Vacate, Set Aside, or
           Correct Sentence by a Person in Federal Custody, ECF No. 188, is
           dismissed; and

     5.    The Clerk will mail a copy of this Memorandum and Order to the
           Defendant at his last known address.

     DATED this 4th day of January, 2017.

                                                BY THE COURT:

                                                s/Laurie Smith Camp
                                                Chief United States District Judge
